                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MISSOURI

                                     )
ANGELA GATERMAN and                  )
ROBERT A. PAULI, JR.,                )         No. 17-CV-2837-JCH
                                     )
      Plaintiffs,                    )
                                     )
v.                                   )
                                     )
KAVULICH & ASSOCIATES,               )
P.C. and GARY KAVULICH,              )
                                     )
      Defendants.                    )
                                     )
                                     )
                                     )

                    MOTION FOR DEFAULT JUDGMENT

      PLEASE TAKE NOTICE, that upon the accompanying Declaration of

Plaintiff Angela Gaterman; upon the Complaint filed by Plaintiffs on

December 6, 2017, and upon all other papers and proceedings had herein,

Plaintiffs move this Court, under Rule 55(b) of the Federal Rules of Civil

Procedure for an Order:

      1.      Deeming all facts alleged in Plaintiffs’ Complaint as admitted by

Defendants;

      2.      Holding, for the reasons explained in ¶ 88 of Plaintiffs’

Complaint, that Defendants violated the following section of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”):

              a. Section § 1692i, by filing a lawsuit against
                 Plaintiff Robert A. Pauli, Jr. in New York City,
                 even though, at the time, Mr. Pauli resided in
                Missouri, and Mr. Pauli had signed the contract
                sued upon in Missouri;

             b. Sections 1692e, e(2), e(5), and e(10), by falsely
                representing that Defendants had the legal
                right to sue on a debt that had already been
                extinguished, and by falsely representing that
                EDS Management Corp. had the legal right to
                sue Plaintiffs; and

             c. Sections 1692e, e(3), and e(10), by falsely
                representing that an attorney had meaningfully
                reviewed the pleadings in the New York City
                lawsuit, see, e.g., Morgan v. Vogler Law Firm,
                P.C., Case No. 4:15-CV-1654 SNLJ, 2016 U.S.
                Dist. LEXIS 95781 at *11-12 (E.D. Mo. July 22,
                2016); see also Clomon v. Jackson, 988 F.2d
                1314, 1320-21 (2d Cir. 1993).

        3.   Holding that, under the common law of the state of Missouri,

Defendants committed the tort of malicious prosecution against Plaintiffs, in

that:

             a. A lawsuit was commenced against Plaintiffs in
                the New York City Civil Court in December
                2016;

             b. Said lawsuit was instigated by Defendants;

             c. The lawsuit has terminated in Plaintiffs’ favor,
                see Exhibit A to accompanying Declaration of
                Plaintiff Angela Gaterman (“Gaterman Decl.”);

             d. Defendants lacked any probable cause to file the
                lawsuit, in that Defendant had voluntarily
                dismissed identical claims with prejudice just
                two months earlier;

             e. Defendants’ actions were malicious, as
                demonstrated by the fact that Defendants
                continued to maintain the lawsuit, and even
                applied for a default judgment, after they had
                 been warned that their lawsuit was frivolous,
                 and by other facts to be obtained in an
                 anticipated deposition of Defendants; and

             f. Plaintiffs sustained damage, as explained in the
                Gaterman Decl.

See State ex rel. O’Basuyi v. Vincent, 434 S.W.3d 517 (Mo. banc 2014).

      4.     Holding that Plaintiffs are entitled to recover the sum certain of

$4,593.75 from Defendants;

      5.     Granting Plaintiffs leave to take discovery on the issue of

malice, for the purposing of establishing liability and punitive damages on

Plaintiffs’ malicious prosecution claim;

      6.     Scheduling an evidentiary hearing to determine the amount of

Plaintiffs’ emotional distress damages and the amount of punitive damages

against Defendants;

      7.     Holding, for purposes of 15 U.S.C. § 1692k(a)(3), that Plaintiffs

are the prevailing parties in this action, and setting deadlines for Plaintiffs to

petition this Court for the costs of this action, together with a reasonable

attorney fee; and

      8.     Such other and further relief as the Court may deem just and

equitable.

Dated: Winston-Salem, NC
       April 5, 2018

                                               /s/ Jonathan R. Miller
                                               Jonathan R. Miller
                                               One of Plaintiffs’ Attorneys
Attorneys for Plaintiffs

Jonathan R. Miller, MO Bar #64031
Law Office of Jonathan R. Miller, PLLC
(d/b/a Salem Community Law Office)
301 N. Main Street, Suite 2415
Winston-Salem, NC 27101
Tel: (336) 837-4437

Brian L. Bromberg
(Will be applying for admission pro hac vice)
Bromberg Law Office, P.C.
26 Broadway, 21st Floor
New York, NY 10004
Tel: (212) 248-7906
